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IN THE UNITED sTATES DISTRICT COUR'TRU% -h PH 5= 1 2
wEsTERN DISTRICT oF TENNESSEE

 

 

WESTERN DIVISION
CONSOLIDATED CONTAINER COMPANY, LP, )
PLAINTIFF, §

v. § Case No.: 05-2371-BV
WARREN UNILUBE, INC., §
DEFENDANT. §

 

ORDER GRANTING WARREN UNILUBE, INC.’S
MOTION FOR EXTENSION OF TIME
TO RESPOND TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

Before the Court is Warren Unilube, lnc.’s Motion for Extension of Time to Respond to
Plaintift"s Motion for Prelirninary Injunction. The Couit hereby finds that the Motion is Well
taken and should be granted.

IT IS, THEREFORE, ORDERED ADJUDGED AND DECREED that Defendant,

Warren Unilube, Inc., Shall have through and including A]g§“§t [§,' 2005, in Which to respond

to Plaintiff’S Motion for Prelirninary lnjunction and that the hearing of Said motion is set for

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lT ls so oRDERED this L| day 0 , 2005.

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Honorable J. Breen
US DISTRICT COURT

